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Exhibit 4
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MICHELE MEAGER

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

In re: NEURONTIN MDL Docket CONFIDENTIAL

MARKETING, SALES PRACTICES No. 1629
AND PRODUCTS LIABILITY Master File
LITIGATION No. 04-10981

Judge Patti Saris

Magistrate Jud
Leo T.Soroki

cP

Confidential telephon eposition of

MICHELE MEAGER, taken by Pen Fred W.
Jeske, a certified sho reporter and notary
public of the stats eS nnessee, held at the

Conference “cP the Courtyard by Marriott,

170 Fourth Aven North, Nashville, Tennessee.

 

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18 20
1 MICHELE MEAGER 1 MICHELE MEAGER
2 Q. All right. So it was one full-time 2 these adverse events?
3 rep and you covering that geographic area? 3 A, No.
4 A. — Well, back then it was probably nine 4 MS. SEATON: Objection.
5 Pfizer representatives and myself, but everybody | 5 Wait. Give a little bit of
6 had different drugs. 6 pause just so I can say “objection to
7 Q. Okay. So you were the only one that 7 form," and then you can go ahead and
8 was detailing Neurontin. 8 answer.
9 A, I think so. 9 THE WITNESS: Okay.
10 Q. Okay. Now what types of specialties 10 Can you repeat the question?
11 of doctors would Neurontin be detailed to in 11 MR. COHEN: Yes.
12 early 2004? 12 BY MR. COHEN:
13 A.  Prime-- 13 Q. Did you ever advise any doctor about
14 MS. SEATON: Objection. Objection. 14 adverse psychiatric events or experiences?
15 You can answer. 15 A. No.
16 A. — Primary care or internal medicine. 16 Q. Okay. All right. Were you ever
17 Any doctor that would see an 17 informed about lawsuits relating to Neurontin
18 epileptic patient. 18 and suicides?
19 BY MR. COHEN: 19 A. No.
20 Q. Okay. And again it was for epilepsy 20 Q. Were you ever provided with documents
21 only? 21. by your company that allowed for a scripted or
22 A. Correct. 22 standard response to inquiries from
23 Q. Allright. Do you know if Neurontin 23 doctors regarding Neurontin and suicide?
24 was detailed to other specialists as well? 24 A. No. Never.
25_A. I don't know. I know what I detailed 25 Q. Allright. Did you ever work for
19 21
1 MICHELE MEAGER 1 MICHELE MEAGER
2 Neurontin for. 2 Warner-Lambert?
3 Q All right. Who made that decision as 3 A. No.
4 to what type of doctor you would be detailing 4 Q. Okay. Now, do you recall detailing a
5 Neurontin to? 5 Dr. Richard Goldman in Wellesey, Massachusetts
6 A, I worked for the part-time division 6 in 2004?
7 that only called on internal medicine and 7 A. Yes.
8 primary care physicians. 8 Q. All right. Do you, as you sit there
9 Q. Okay. All right. Did you ever 9 today, have any idea when the first time you
10 discuss off-label use of Neurontin with any 10 detailed him was?
11 doctor you ever serviced? 11 A. No.
12 A. No. 12 Q. Do you have any documents in front of
13 Q. Were you ever asked about Neurontin's {13 you that might refresh your recollection?
14 association with adverse psychiatric experiences |14 A. I know] detailed him in 2004.
15 by any doctor you detailed? 15 Q. — Allright. [have some call sheets,
16 A. No. 16 or one call sheet, and then another page talking
17 MS. SEATON: Hold on just asecond. |17 about some, some product that was left. Do you
18 I just heard a beep. Did 18 have those there at all?
19 somebody join? 19 A, Yes. My, my -- can J ask him? Is it
20 MR. COHEN: That's just some other 20 just if detailed them in 2004?
21 line ringing in here, I think. 21 Q. Well, I have a page here that talks
22 MS. SEATON: Oh, okay. 22 about four visits from January of '04 through
23 MR. COHEN: Okay. All right. 23 April of '04, and then dates that product was
24 BY MR. COHEN: 24 left. That's what I'm looking -- that was
25 Q Did you ever advise any doctor about 25 provided by your attorneys, I believe.

 

6 (Pages 18 to 21)

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1 MICHELE MEAGER 1 MICHELE MEAGER
2 April, when you met with him, did you ever 2 if you were visiting with a doctor and he asked
3 discuss off-label use with him, of Neurontin? 3 you a specific question?
4 A. No. 4 A, Tt would be done through the computer.
5 Q. Do you know if anyone else from Pfizer | 5 There was a button that you would hit for a
6 ever discussed off-label use with him? 6 medical inquiry, and that would get sent right
7 A. No. 7 to our physicians who worked with Pfizer, and
8 Q. Do you know if your boss had any 8 then they would contact Dr. Goldman, and we
9 contact with him, with Dr. Goldman? 9 would not --
10 A, His only contact was through me. 10 Q. All right.
11 Q. Okay. Who had access to the Sherlock [11 A. They would go around us and contact
12 data, your Sherlock data, at Pfizer? 12 him directly.
13 A I did. 13 Q. All right. So would that ever get
14 Q. Nobody else? 14 noted anywhere on the call sheet or the day that
15 A, It would get sent straight to 15 you visited, that there was such an inquiry
16 headquarters. 16 made? —
17 @Q All right. And it was sent over the 17 A, No.
18 Internet, or how would that work? 18 Q Okay. Allright. Were you aware that
19 A. Ah, I don't know. 19 Warner-Lambert pled guilty to some felonies
20 Q. Okay. Was that daily, monthly, 20 related to off-label marketing of Neurontin?
21 weekly? How often would you send the data? [21 A. Yes.
22 A. You would send it every evening. You {22 Q. Who made you aware of that?
23 would log in. 23 A. The newspaper.
24 Q. Okay. Do you know if your boss or 24 Q. And what did you learn? What do you
25 anyone else at Pfizer ever used that Sherlock 25 recall?
47 49
1 MICHELE MEAGER 1 MICHELE MEAGER
2 data and contacted doctors who you were 2 A I recall that Pfizer settled a
3 detailing maybe to do quality control or get 3 lawsuit. And that's all I recall.
4 feedback or anything? 4 Q. Allright. Were you told to do
5 A. No. 5 anything different in terms of the marketing
6 Q. No? Okay. 6 which you had been doing after this guilty plea?
7 All right. Do you know how much 7 MS. SEATON: Objection.
8 money Pfizer made on Neurontin in 2004? 8 A. We did not do anything different.
9 A, No. 9 BY MR. COHEN:
10 Q. How about in 2003? 10 Q. Okay. Did you know of any sales reps
11 A. No. 11 who did engage in off-label marketing of
12 Q. How about 2002? 12 Neurontin?
13. (A, Nope. 13. A. No.
14 Q. Well, is it your understanding that in 14 Q. Did there come a time when you learned
15 2004 the only FDA-approved uses for Neurontin {15 that taking Neurontin posed a suicide risk?
16 was epilepsy? 16 A. No. This is the first I've heard of
17_=~OA. Correct. 17° it.
18 Q. Okay. What if a doctor attempted to 18 Q. Today is the first you've heard?
19 initiate an off-label discussion with you, what 19 MS. SEATON: Objection.
20 would you do? 20 Go ahead.
21 A. We would tell him the indication for 21 =A. Yes. Today's the first I've heard.
22 the medication, and then do a medical inquiry 22 BY MR. COHEN:
23 for the doctor, and then we would step away. 23 Q. Okay. Did you ever get inquiries from
24 Q, Allright. Now, would you note 24 any physicians regarding potential suicide risks
25 anywhere on your call sheet that that was done 25 associated with Neurontin?

 

 

 

 

13 (Pages 46 to 49)

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50 52
1 MICHELE MEAGER 1 MICHELE MEAGER
2 A. No. 2 history for depression or suicide prior to
3 Q. What's a backgrounder? 3 prescribing Neurontin to their patients?
4 A. A backgrounder would be when you 4 A. No.
5 have -- when you're learning about a product, it | 5 Q. | Were you aware of the FDA concern
6 would be the disease state and treatment for 6 raised in the original FDA review related to
7 that product. It was a sales tool. 7 Neurontin's association with suicide?
8 Q. Okay. Did you ever get any 8 MS. SEATON: Objection.
9 backgrounders regarding the suicide risks 9 A. No.
10 associated with Neurontin? 10 BY MR. COHEN:
11 A. No. 11 Q. Did you ever become aware that any of
12 Q. Did you ever learn about Neurontin's 12 the physicians you were detailing were
13 impact on serotonin levels in the brain? 13 prescribing Neurontin off-label?
14 MS. SEATON: Objection. 14 A. No.
15 You can answer. 15 Q. Did you ever become aware that at some
16 A, I don't recall. 16 point that over 90 percent of the prescriptions
17 BY MR. COHEN: 17 written were for off-label use of Neurontin?
18 Q. Okay. Did anyone tell you not to 18 MS. SEATON: Objection.
19 discuss with doctors Neurontin's impact on 19 A. No.
20 serotonin levels in the brain? 20 BY MR. COHEN:
21 A. No. 21 Q. What information have you kept about
22 Q. Did you ever learn about Neurontin's 22 your detailing contacts with Dr. Goldman before
23 impact on norepinephrine in the human brain? {23 August of 2004, anything at all?
24 MS. SEATON: Objection. 24 A. No. Nothing,
25 Go ahead. 25 _Q. _ Okay. After Pfizer acquired the
51 53
1 MICHELE MEAGER 1 MICHELE MEAGER
2 A, No. 2 Neurontin product line but before the approval
3 BY MR. COHEN: 3 for postherpetic neuralgia, also known as
4 Q. Did you ever learn what effect 4 shingles, can you identify for me all the types
5 Neurontin had on monoamine, if I'm saying it 5 of doctors by specialty you would distribute
6 right, neurotransmitters in the human brain? 6 Neurontin samples to, other than the primary
7 It's N-O-M-O-A-Mas in Mary I-N-E. 7 care doctors; anybody else?
8 MS. SEATON: Objection. 8 MS. SEATON: Objection.
9 Az No. 9 You can answer, if you
10 BY MR. COHEN: 10 understand.
11 Q. Did any of the physicians you detailed |11 A. Nobody else.
12 Neurontin to ever report to you that a patient 12 BY MR. COHEN:
13 on Neurontin had an adverse event? 13 Q. Okay. Do you know what IMS data is?
14 :=Az No. 14 =Az No.
15 Q. Was there some other way for them to 15 Q. Okay. Was it normal practice to keep
16 transmit that data to Pfizer, or would it have 16 dropping off prescriptions for doctors who were
17 gone through you? 17 already writing Neurontin?
18 MS. SEATON: Objection. 18 MS. SEATON: Objection.
19 A. Through me. 19 Go ahead.
20 BY MR. COHEN: 20 A. We didn't drop off prescriptions.
21 Q. Okay. Did you learn about any 21 BY MR. COHEN:
22 Neurontin adverse events from anyone else? 22 Q. I'm sorry. I'll ask it a correct way.
23 Az No. 23 Was it normal custom and practice for you to
24 Q. Did you ever suggest to any of the 24 leave samples of Neurontin with doctors who were
25 __ physicians that you detailed that they take a 25 already actively prescribing Neurontin?
14 (Pages 50 to 53)

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58 60
1 MICHELE MEAGER 1 MICHELE MEAGER
2 A. No. 2 MR. COHEN: Okay. I have nothing
3 Q Have you ever had any contact or 3 else.
4 communication with Mr. Ford? 4 MS. SEATON: All right. We can go
5 A. No. 5 off the record.
6 Q. Did you ever have a substantive 6 Actually, while we're still on
7 discussion with Dr. Goldman about Neurontin? 7 the record, you have an opportunity to
8 A. — Repeat? 8 read through the transcript and look and
9 Q Yeah. Did you ever have any kind of 9 make sure that he typed down everything
10 substantive discussion about Neurontin with 10 exactly correctly, or you can waive
11 Dr. Goldman? 11 signature. And it's totally your call.
12 A. — About epilepsy. 12 If you would like to look at it and check
13 Q. Okay. Outside of a discussion about 13 it and sign it, that's fine. Or if you
14 epilepsy, did you ever have any discussions with {14 would like to waive signature, that's fine
15 Dr. Goldman? 15 too.
16 (Az No. 16 THE WITNESS: I'll waive signature.
17 Q Okay. Did you ever promote off-label 17 MS. SEATON: Okay. All right.
18 to Dr. Goldman? 18 We're off the record.
19 A. No. 13 (eposition concluded at 1:52 p.m.)
20 Q. Did you ever -- are you familiar with 20
21 Dr. Dino Crognale? 21
22 Az No. 22
23 Q. Did you ever -- strike that. 23
24 Did you ever detail Neurontin 24
25 __ off-label to any doctor? 25
59 61
1 MICHELE MEAGER 1 MICHELE MEAGER
2 Az No. 2 REPORTER'S CERTIFICATE
3 Q. Were you ever encouraged by Pfizer to 3 I, Fred W. Jeske, Court Reporter and
4 detail Neurontin off-label? 4 State of Tennessee at-large Notary Public, do
5 A. No. 5 hereby certify that I recorded to the best of my
6 O. Were you ever motivat yi 6 skill and ability by machine shorthand all the
7 rrotivated to detail off-label Newent to memes 7 proceedings in the foregoing transcript, and
8 increase your bonus? 8 that said transcript is a true, accurate, and
9 A. No. : complete transcript & te best of my ability -
er'ce at I am no
10 MS. SEATON: Okay. Ihave no 11 attorney or counsel of any of the parties, nor a
ii further questions for this witness. 12 relative or employee of any attorney or counsel
12 REDIRECT EXAMINATION 13 connected with the action, nor financially
13 BY MR. COHEN: 14 interested in the action.
14 Q. You just mentioned a Dr. Dino 15 SIGNED this 28th day of March, 2008.
15 Crognale. The records I have indicate that he 16
16 was in Danvers, Massachusetts. Would that have | 17
17 been your area? 18
18 A. No. 19
19 Q No? 50 eee Ww x eske, Court Reporter
: e of Tennessee
; : A ne you know whose area it was? an At-large Notary Public
22 Q. Okay. Did Dr. Goldman ever tell you 22 My Commission Expires: November 14, 2009
23 that he was prescribing Neurontin for pain and 23
24 not for epilepsy to any patient? 24
25 A. No. 25
16 (Pages 58 to 61)

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